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                                       MINUTES


 CASE NUMBER:            CRIMINAL NO. 17-00101-1 LEK
 CASE NAME:              USA vs. (01) Anthony T. Williams
 ATTYS FOR PLA:          Gregg Paris Yates
                         Kenneth M. Sorenson
 ATTYS FOR DEFT:         Anthony T. Williams, Pro se
                         Lars R. Isaacson (Stand-by)

      JUDGE:       Leslie E. Kobayashi         REPORTER:       Debra Read

      DATE:      2/10/2020                 TIME:           02:30 PM - 3:30 PM
COURT ACTION: EP: [833-1] MOTION to Quash filed by Jacquelyn Plasner
Needelman and [834-1] MOTION to Quash filed by Bruce R. Bahn held.

Defendant (01) Anthony T. Williams present in custody.

Jacquelyn Plasner Needelman, present via telephone.

Bruce R. Bahn, present via telephone.

Discussion held.

[833-1] MOTION to Quash filed by Jacquelyn Plasner Needelman - GRANTED

[834-1] MOTION to Quash filed by Bruce R. Bahn - GRANTED

Court findings stated on the record.

Court reviews Defendant’s witness/subpoena list:
•      Evelyn Tulaga Acorda - Court reserves ruling
•      Catherine P. Awakuni Colon - Subpoena will remain in effect
•      Senait Beiene - QUASH under Rule 403 analysis
•      Joyce Benoist - Unexecuted
•      Dr. Michael Brannon [Expert] - Government Motion pending
•      Cynthia Brown - QUASH under Rule 403 analysis
•      Anabel Cabebe - Subpoena will remain in effect
•      Remie Carlos - Subpoena will remain in effect
•      Milagros Castro - Subpoena will remain in effect
•      David Cooper, Esq - ex parte application for subpoena was denied
•      Denise Cross - QUASH under Rule 403 analysis
•      Jeanette Currie - QUASH under Rule 403 analysis
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•      Anthea Daley - Unexecuted - QUASH under Rule 403 analysis
•      Ronnie Davis - QUASH under Rule 403 analysis
•      Rudy Davis - QUASH under Rule 403 analysis
•      Marissel Descalzo, ESQ - QUASH under Rule 403 analysis
•      Rosy Sotto Esprecion - Subpoena will remain in effect
•      Anna Marie Evans - QUASH under Rule 403 analysis
•      James P. Evers (DCCA) - Subpoena will remain in effect
•      Elevila Giles - Subpoena will remain in effect
•      Maria Hammond - QUASH under Rule 403 analysis
•      Lashante Powell Hatchett - QUASH under Rule 403 analysis
•      Nancy Maxwell Hatchett - Subpoena will remain in effect
•      William Hatchett - QUASH under Rule 403 analysis, but Defendant can revisit
•      Michael Henry-Bey -QUASH under Rule 403 analysis
•      Donna Hickenbottom - Subpoena will remain in effect, Limit testimony to Hawaii
       experience
•      Mel Horner - Subpoena will remain in effect
•      Dr. Leonard Horowitz [Expert and fact witness] - Government Motion pending
•      Sherri Kane - Subpoena will remain in effect
•      Robyn Kelly - QUASH under Rule 403 analysis, but Defendant can revisit
•      Kevin Kirby - QUASH under Rule 403 analysis
•      Bruce Kim - Subpoena will remain in effect
•      Robbin Krakkauer - Subpoena will remain in effect
•      Charles Lewis - QUASH under Rule 403 analysis
•      Valerie Lopez - QUASH under Rule 403 analysis
•      Howard KK Luke, Esq, Hawaii Bar Association - QUASH under Rule 403
      analysis
•      Caridad Marquez - QUASH under Rule 403 analysis
•      Kellen Martz - QUASH under Rule 403 analysis
•      Sherri Moody - QUASH under Rule 403 analysis
•      Paul Murray - QUASH under Rule 403 analysis
•      Violet C. Natividad - Subpoena will remain in effect
•      Angelita Pasion - Subpoena will remain in effect
•      Rene Powers - QUASH under Rule 403 analysis, but Defendant can revisit
•      Nora Rimando - Subpoena withdrawn
•      Shirley Ann Stewart - QUASH under Rule 403 analysis
•      Arnold Subia - Subpoena will remain in effect
•      Evelyn Subia - Subpoena will remain in effect (also a Government witness)
•      Brenda B. Turville - Subpoena will remain in effect
•      Melvyn Ventura - Subpoena will remain in effect
•      Insolada Vincent - Subpoena will remain in effect
•      William Wagner - QUASH under Rule 403 analysis
•      Collette Watanabe (DCCA) - Subpoena will remain in effect
•      Barbara Williams - Subpoena will remain in effect
•      Robert Young [Expert] - Government Motion pending
•      No. 68.a to No. 68.i - Requests for documents only - no action will be taken by the
      Court unless moved upon by the parties
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Further discussion held regarding timing of Government’s case.
Defense should prepare to begin on Tuesday 2/18/2020.

Submitted by: Agalelei Elkington, Courtroom Manager
